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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA                             )
                                                     )
                Plaintiff,                           )
                                                     )
                v.                                   )   r    Criminal Action No. 16-   5Lo
                                                     )
DEXTER BRANDENBURG, III,                             )
                                                     )
                Defendant.                           )

                      MOTION AND ORDER FOR ARREST WARRANT

         The United States of America, by and through its attorneys, Charles M. Oberly, III, United

States Attorney for the District of Delaware, and Shawn A. Weede, Assistant United States

Attorney for the District of Delaware, hereby moves this Honorable Court for the issuance of an

arrest warrant against the defendant, DEXTER BRANDENBURG,              , pursuant to the Indictment

returned against him on November 10, 2016.

                                                                    . OBERLY, III
                                                     United    at s Attorney

                                              BY:
                                                                 eede
                                                     Assistant United States Attorney

Dated:     November 10, 2016


         AND NOW, this 10th day of November, 2016, based upon the foregoing Motion, IT IS

ORDERED that an arrest warrant be issued for the arrest and apprehension of DEXTER

BRANDENBURG, III.
